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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-   -   -    -    -   -    -   -    -   -   -   -   -         -   X


UNITED STATES OF AMERICA
                                                                        SEALED INDICTMENT
            - v. -
                                                                        S5 19 Cr.   £( \
CARLOS ROBLEDO-ANEZ,
     a/k/a "Gafas,"


                                   Defendant.

-   -   -    -    -   -    -   -    -   -   -   -   -   -         X


                                                            COUNT ONE

                      The Grand Jury charges:

                      1.           From at least in or about June 2017, up to and

including the date of the filing of this Indictment, in Bolivia

and elsewhere, and in an offense begun and committed out of the

jurisdiction of any particular State or district, CARLOS

ROBLEDO-ANEZ, a/k/a "Gafas," the defendant, who will be first

brought to and arrested in the Southern District of New York,

and others known and unknown, intentionally and knowingly

combined, conspired, confederated, and agreed together and with

each other to violate the narcotics laws of the United States.

                      2.           It was a part and an object of the conspiracy

that CARLOS ROBLEDO-ANEZ, a / k/a "Gafas," the defendant, and

others known and unknown, would and did manufacture, possess

with intent to distribute, and distribute a controlled

substance, intending, knowing, and having reasonable cause to
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believe that such substance would be unlawfully imported into

the United States and into waters within a distance of 12 miles

of the coast of the United States from a place outside thereof,

in violation of Title 21, United States Code, Sections 959(a)

and 9 6 0 ( a) ( 3 ) .

                3.       The controlled substance that CARLOS ROBLEDO-

ANEZ, a/k/a "Gafas," the defendant, conspired to manufacture,

possess with intent to distribute, and distribute, was five

kilograms and more of mixtures and substances containing a

detectable amount of cocaine, in violation of Title 21, United

States Code, Section 960(b) (1) (B) (ii).

   (Title 21, United States Code, Sections 812, 959(a), 959(d),
  960(a) (3), and 963(b) (1) (B) (ii); Title 18, United States Code,
                             Section 3238.)

                                      COUNT TWO

               The Grand Jury further charges:

                4.       In or about September 2018, in Bolivia and

elsewhere, and in an offense begun and committed out of the

jurisdiction of any particular State or district, CARLOS

ROBLEDO-ANEZ, a/k/a "Gafas," the defendant, who will be first

brought to and arrested in the Southern District of New York,

intentionally and knowingly manufactured, possessed with intent

to distribute, and distributed a controlled substance, that is,

five kilograms and more of mixtures and substances containing a

detectable amount of cocaine, and aided and abetted the same,

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intending, knowing, and having reasonable cause to believe that

such substance would be imported into the United States and into

waters within a distance of 12 miles of the coast of the United

States from a place outside thereof.

  (Title 21, United States Code, Sections 812, 959(a), 959(d),
 960(a) (3), and 960(b) (1) (B) (ii); Title 18, United States Code,
                       Sections 2 and 3238.)

            FORFEITURE ALLEGATION AS TO COUNTS ONE AND TWO

            5.   As a result of committing the controlled

substance offense alleged in Count One of this Indictment,

CARLOS ROBLEDO-ANEZ, a / k / a "Gafas," the defendant, shall forfeit

to the United States, pursuant to Title 21, United States Code,

Sections 853 and 970, any and all property constituting or

derived from any proceeds obtained directly or indirectly as a

result of said offense and any and all property used or intended

to be used in any manner or part to commit or to facilitate the

commission of said offense that the defendant personally

obtained.

            6.    As a result of committing the controlled

substance offense alleged in Count Two of this Indictment,

CARLOS ROBLEDO-ANEZ, a/k / a "Gafas," the defendant, shall forfeit

to the United States, pursuant to Title 21, United States Code,

Sections 853 and 970, any and all property constituting or

derived from any proceeds obtained directly or indirectly as a

result of said offense and any and all property used or intended

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to be used in any manner or part to commit or to facilitate the

commission of said offense that the defendant personally

obtained.

                       Substitute Assets Provision

             7.   If any of the property described above as being

subject to forfeiture, as a result of any act or omission of the

defendant:

                  a.    cannot be located upon the exercise of due
                        diligence;

                  b.   has been transferred or sold to, or
                       deposited with, a third person;

                  c.   has been placed beyond the jurisdiction of
                       the Court;

                  d.   has been substantially diminished in value;
                       or

                  e.   has been commingled with other property
                       which cannot be subdivided without
                       difficulty;

it is the intention of the United States, pursuant to Title 21,

United States Code, Sections 853(p) and 970, to seek forfeiture

of any other property of the defendant up to the value of the

above forfeitable property.

     (Title 21, United States Code, Sections 853 and 970; and
            itle 28, United States Code, Section 2461.)




                                        GEOFFRE   ~   BERMAN
                                        United States Attorney


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              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                           - v. -

                  CARLOS ROBLEDO-ANEZ,
                    a/k/a "Gafas,"

                                     Defendant.




                    SEALED INDICTMENT

                         S5 19 Cr.

         (21 U.S.C. §§ 959, 960, and 963; and
              18 U.S.C. §§ 2 and 3238.)




                                GEOFFREY S. BERMAN
                           United States Attorney.




                                         Foreperson.
